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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO
                            Judge Christine M. Arguello


Criminal Action No. 22-cr-00113-CMA-GPG

UNITED STATES OF AMERICA,

      Plaintiff,

v.

DEBRA CAMPBELL,

      Defendant.


     ORDER ADOPTING AND AFFIRMING MAY 27, 2022 RECOMMENDATION
               OF UNITED STATES MAGISTRATE JUDGE


      This matter is before the Court on the Recommendation of Magistrate Judge

Gallagher (Docs. ## 9 and 13). The Court notes that pursuant to the terms of the

written plea agreement, Defendant entered a plea of guilty to a two-count Information

charging violations of 18 U.S.C. § 1343 and 26 U.S.C. § 7206(1). The Court also notes

that Defendant consented to Magistrate Judge Gallagher advising her with regard to her

Constitutional rights and her rights pursuant to Rule 11 of the Federal Rules of Criminal

Procedure. Magistrate Judge Gallagher conducted the Rule 11 hearing on May 27,

2022, at which time he appropriately advised the Defendant of her rights and made

inquiry as to the Defendant’s understanding of the charges, the terms of the plea

agreement, the voluntariness of her plea, and of the consequences of pleading guilty.




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Based on that hearing Magistrate Judge Gallagher recommended that the District Court

Judge accept Defendant's plea of guilty the two-court Information.

     Neither the Defendant nor the Government has filed any objections to the

Magistrate Judge’s Recommendation; therefore, it is ORDERED THAT:

         1. Court Exhibits 1 and 2 are accepted and admitted.

         2. The plea as made in open court on May 27, 2022 is accepted and the
            Defendant is adjudged guilty of violation of 18 U.S. C § 1343 and 26 U.S.C.
            § 7206(1).

      DATED: June 15, 2022


                                  BY THE COURT:


                                  ___________________________________
                                  CHRISTINE M. ARGUELLO
                                  United States District Judge




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